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            EXHIBIT 1
Case 2:15-cv-00280-SRC-CLW Document 98-3 Filed 08/15/16 Page 2 of 47 PageID: 1198



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                                          Sumitomo Dainippon Pharma Co., Ltd.
                                          and Sunovion Pharmaceuticals Inc.

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  SUMITOMO DAINIPPON PHARMA CO.,          Civil Action No. 15-280 (SRC) (CLW)
  LTD. and SUNOVION                       Civil Action No. 15-281 (SRC) (CLW)
  PHARMACEUTICALS INC.,                   Civil Action No. 15-6401 (SRC) (CLW)
                                          (Consolidated)
  Plaintiffs,

  v.

  EMCURE PHARMACEUTICALS
  LIMITED, et al.,

  Defendants.



                 SUNOVION’S PRELIMINARY CLAIM CONSTRUCTIONS
                  AND IDENTIFICATION OF SUPPORTING EVIDENCE
Case 2:15-cv-00280-SRC-CLW Document 98-3 Filed 08/15/16 Page 3 of 47 PageID: 1199



         Pursuant to the pretrial scheduling order entered in this case (D.I. 45), Plaintiffs Sumitomo

  Dainippon Pharma Co., Ltd. and Sunovion Pharmaceuticals Inc. (collectively, “Sunovion”) hereby

  set forth their Preliminary Claim Constructions and Identification of Supporting and Intrinsic

  Evidence as required by Local Patent Rule 4.2 (a)-(b) of the United States District Court for the

  District of New Jersey for the claim terms that Defendants Emcure Pharmaceuticals, Ltd. and

  Emcure Pharmaceuticals USA, Inc. (collectively, “Emcure”), Defendant InvaGen

  Pharmaceuticals, Inc. (“InvaGen”), and Defendants Teva Pharmaceuticals USA, Inc. and Teva

  Pharmaceutical Industries, Ltd. (collectively, “Teva”) assert should be construed by the Court.

         Sunovion objects to providing preliminary proposed constructions to Emcure’s,

  InvaGen’s, and Teva’s proposed claim terms because Emcure, InvaGen, and Teva

  (collectively, “Defendants”) have failed to articulate sufficient reasons to disregard the plain and

  ordinary meaning of the claim terms of asserted Claim 14. Further, each of Defendants’ current

  claim construction positions are inconsistent with their Paragraph IV Notice Letters and their

  respective L. Pat. R. 3.3 and 3.6 contentions. Sunovion states that the claim terms proposed by

  Emcure, InvaGen, and Teva do not require further construction, and the disputed issues in this case

  can be resolved according to their plain meaning. See, e.g., U.S. Surgical Corp. v. Ethicon, Inc.,

  103 F.3d 1554, 1568 (Fed. Cir. 1997) (claim construction is required only when constructions bear

  on the resolution of issues of infringement or validity).

         Additionally, Sunovion objects to any attempt by Emcure, InvaGen, or Teva to introduce

  extrinsic evidence to claim construction, including, without limitation, dictionary definitions,

  learned treatises, prior art, and testimony of any witnesses, including expert witnesses. Sunovion

  believes that the intrinsic evidence, including the depiction and/or words in the disputed claim




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  term, the other claims of the ’372 patent, the specification of the ’372 patent, and the prosecution

  history of the ’372 patent, are clear. As a result, the claim terms should be understood in

  accordance with their plain meaning. Subject to this objection, Sunovion reserves the right to

  supplement its intrinsic evidence for claim constructions with extrinsic evidence in response to any

  extrinsic evidence Emcure, InvaGen, and/or Teva may attempt to introduce.

         The below proposed claim constructions are preliminary and based on information

  presently available to Sunovion. Sunovion reserves the right to supplement and/or amend these

  constructions and evidence if Emcure’s, InvaGen’s, or Teva’s current or subsequent constructions

  attempt to introduce any issues in this case not set forth in their respective L. Pat. R. 3.3 and 3.6

  contentions. Sunovion reserves the right to supplement and/or amend its preliminary claim

  constructions based on the constructions proposed by Emcure, InvaGen, or Teva and/or any

  information that subsequently becomes available. Sunovion offers these preliminary

  constructions and supporting evidence for, and in the context of, this litigation only. Any

  constructions offered by Sunovion are not necessarily applicable to any future litigation.

  I.     PRELIMINARY CLAIM CONSTRUCTIONS

         Subject to and without any waiver of the objections and statements above, and in further

  good-faith attempt to limit the number of disputes before the Court, Sunovion sets forth below its

  preliminary proposed constructions for the claim terms proposed by Emcure, InvaGen, and Teva

  pursuant to this Court’s Scheduling Order and Local Patent Rule 4.2(a). Sunovion states that the

  claim terms should be understood by their “plain meaning” and based on the commonly

  understood meaning of the depiction and/or words included in the claim term, in the context of

  the ’372 patent.




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             The various claims of the ’372 patent; and

             Portions of the intrinsic record that Sunovion may identify in response to any materials
              cited by Emcure, InvaGen, and/or Teva.

         B.      Extrinsic Evidence

         As stated above, Sunovion objects to introducing extrinsic evidence in this case because

  the intrinsic evidence and plain meaning of the term are sufficiently clear. Subject to this

  objection, Sunovion reserves the right to introduce the following extrinsic evidence and any other

  extrinsic evidence not listed here to respond to any such evidence Emcure, InvaGen, and/or Teva

  may attempt to bring into this case:

             Emcure’s Paragraph IV Notice Letter dated December 2, 2014;

             Emcure’s L. Pat. R. 3.3 and 3.6 contentions dated August 4, 2015;

             InvaGen’s Paragraph IV Notice Letter dated December 5, 2014;

             InvaGen’s L. Pat. R. 3.3 and 3.6 contentions dated July 28, 2015;

             Teva’s Paragraph IV Notice Letter dated July 13, 2015; and

             Teva’s L. Pat. R. 3.3 and 3.6 contentions dated February 3, 2016.




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Case 2:15-cv-00280-SRC-CLW Document 98-3 Filed 08/15/16 Page 7 of 47 PageID: 1203




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            EXHIBIT 2
Case 2:15-cv-00280-SRC-CLW Document 98-3 Filed 08/15/16 Page 9 of 47 PageID: 1205



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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  SUMITOMO DAINIPPON PHARMA CO.,          Civil Action No. 15-280 (SRC) (CLW)
  LTD. and SUNOVION                       Civil Action No. 15-281 (SRC) (CLW)
  PHARMACEUTICALS INC.,                   Civil Action No. 15-6401 (SRC) (CLW)
                                          (Consolidated)
                      Plaintiffs,

         v.

  EMCURE PHARMACEUTICALS
  LIMITED, et al.,

                      Defendants.



                          SUNOVION’S IDENTIFICATION OF
                     REBUTTAL CLAIM CONSTRUCTION EVIDENCE
Case 2:15-cv-00280-SRC-CLW Document 98-3 Filed 08/15/16 Page 10 of 47 PageID: 1206



          Pursuant to the pretrial scheduling order entered in this case (D.I. 45) and Local Patent

   Rule 4.2(c) of the United States District Court for the District of New Jersey, Plaintiffs Sumitomo

   Dainippon Pharma Co., Ltd. and Sunovion Pharmaceuticals Inc. (collectively, “Sunovion”) hereby

   set forth their Rebuttal Claim Construction Evidence for the claim term that Defendants Emcure

   Pharmaceuticals Ltd. and Emcure Pharmaceuticals USA, Inc. (collectively, “Emcure”), Defendant

   InvaGen Pharmaceuticals, Inc. (“InvaGen”), and Defendants Teva Pharmaceuticals USA, Inc. and

   Teva Pharmaceutical Industries Ltd. (collectively, “Teva”) assert should be construed by the Court

   in their L. Pat. R. 4.2(b) Preliminary Claim Constructions and Supporting Evidence.

          As an initial matter, Sunovion objects to providing rebuttal evidence for the claim term

   identified by Emcure, InvaGen, and Teva (collectively, “Defendants”) on the ground that the claim

   construction sought by Defendants constitute an inappropriate and unnecessary burden on the

   Court and the parties. Defendants have failed to articulate sufficient reasons to disregard the plain

   and ordinary meaning of the claim term of asserted Claim 14. As set forth in Sunovion’s

   Preliminary Claim Constructions, each of Defendants’ alleged claim construction position is

   inconsistent with their Paragraph IV Notice Letters and their respective L. Pat. R. 3.3 and 3.6

   contentions.

          Sunovion also objects to Defendants’ improper attempt to rely on and/or incorporate

   evidence identified by another defendant. Under L. Pat. R. 4.2(b), each defendant is required to

   identify with specificity all evidence that allegedly supports its constructions. Defendants are not

   permitted to rely on evidence not properly identified and/or produced under L. Pat. R. 4.2(b).

   Accordingly, Sunovion reserves the right to seek preclusion of any evidence sought to be offered




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   by Defendants that was not properly disclosed pursuant to L. Pat. R. 4.2(b) in their April 6, 2016

   Preliminary Claim Constructions and Supporting Evidence.

          In addition, the use of extrinsic evidence for claim construction is inappropriate in this case

   because the intrinsic evidence, including the depiction and/or words in the disputed claim term, the

   other claims of the ’372 patent, the specification of the ’372 patent, and the prosecution history of

   the ’372 patent, are clear such that the disputed claim term should be understood in accordance

   with its plain meaning. As such, Sunovion objects to Defendants’ attempts to introduce extrinsic

   evidence to claim construction, including, without limitation, articles, publications, textbooks,

   patents, new drug applications, prescribing information, and/or expert testimony. Sunovion

   reserves the right to seek preclusion of any expert opinions or testimony sought to be offered by

   Defendants that was not properly disclosed.

          The evidence below is based upon the information presently available to Sunovion and is

   made in reliance on Defendants’ proposed construction and the evidence it has offered in support

   thereof. Sunovion provides this rebuttal evidence in reliance on Defendants’ current claim

   construction position which is inconsistent with their respective L. Pat. R. 3.3 and 3.6 contentions

   and their Paragraph IV Notice Letters.

                                              EVIDENCE

          Pursuant to this Court’s Scheduling Order and Local Patent Rule 4.2(c), Sunovion

   identifies below the intrinsic and extrinsic evidence it may rely upon to rebut the construction

   proposed by Defendants. In addition to the evidence listed below, Sunovion may rely on any

   evidence cited by Defendants in their L. Pat. R. 4.2(b) and (c) disclosures as well as the context of




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   that evidence. Sunovion reserves the right to rely upon additional evidence, including in response

   to Defendants’ designation of evidence opposing Sunovion’s proposed construction.

          A.      Intrinsic Evidence

          •    The specification of the ’372 patent, including, without limitation: 3:3-4:43, 4:44-53,
               11:38-65, 12:31-13:9, 14:63-16:39, 27:35-40, 28:29-35, 30:30-32:23, Compound No.
               206 in Table 7, and Examples 4, 6, 10, 12, 22, 23, 25, 27, 29, 31, 33, 35, 37, 39, 41, 43,
               45, 47, 49, 51, 62, 64, 66, 67, 69, and 72;

          •    The prosecution history of the patent-in-suit, including, without limitation:
               LATUDA-00000676-82, LATUDA-00000688-92, and LATUDA-00000849-965; and

          •    The various claims of the ’372 patent, including, without limitation: Claims 15 and 19.

          B.      Extrinsic Evidence

          As stated above, Sunovion objects to introducing extrinsic evidence in this case because

   the intrinsic evidence and plain meaning of the proposed term for construction is sufficiently clear.

   Subject to this objection, Sunovion reserves the right to introduce the following extrinsic evidence

   and any other extrinsic evidence not listed here to respond to any such evidence Defendants may

   attempt to bring into this case:

          •    Emcure’s Paragraph IV Notice Letter dated December 2, 2014;

          •    Emcure’s Supplemental Paragraph IV Notice Letter dated June 16, 2015;

          •    Emcure’s L. Pat. R. 3.3 and 3.6 contentions dated August 4, 2015;

          •    InvaGen’s Paragraph IV Notice Letter dated December 5, 2014;

          •    InvaGen’s Supplemental Paragraph IV Notice Letter dated June 18, 2015;

          •    InvaGen’s L. Pat. R. 3.3 and 3.6 contentions dated July 28, 2015;

          •    Teva’s Paragraph IV Notice Letter dated July 13, 2015; and

          •    Teva’s L. Pat. R. 3.3 and 3.6 contentions dated February 3, 2016.




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   Sunovion reserves the right to call one or more experts to testify in rebuttal to any expert testimony

   Defendants may seek to introduce. Sunovion reserves the right to rely upon any documents relied

   upon by any expert testifying on Sunovion’s or Defendants’ behalf in connection with the

   Markman proceeding in this action.


   Dated: April 20, 2016                             By:    s/ Charles M. Lizza
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                                                   -5-
Case 2:15-cv-00280-SRC-CLW Document 98-3 Filed 08/15/16 Page 14 of 47 PageID: 1210




             EXHIBIT 3
      Case 2:15-cv-00280-SRC-CLW Document 98-3 Filed 08/15/16 Page 15 of 47 PageID: 1211


Salvatore Guerriero

From:                                    DiSabatino, Dominick <dominickdisabatino@paulhastings.com>
Sent:                                    Tuesday, April 26, 2016 2:34 PM
To:                                      'Kistler, David C.'; Hu, Christopher K.; Lessler, Jay; Heble, Nikhil A.; Salvatore Guerriero;
                                         Robert S. Silver; Pei-Ru Wey; Hardman, Cynthia; Levy, Ira J; Cipriano, Linnea P; Mayra
                                         Tarantino; Michael Patunas
Cc:                                      Project LATUDA; 'Lizza, Charles M.'; 'Baton, William C.'; 'Sullivan, Sarah A.'; 'Moses, David
                                         L.'; Lucia, Jamie L.; Ratliff, Preston K.
Subject:                                 Sunovion et al. v. Emcure et al., Civil Action No. 15-280 (consolidated action)
Attachments:                             Attachment.docx


Counsel,

Attached is Sunovion’s portion of the draft L. Pat. R. 4.3 Joint Claim Construction and Prehearing Statement. In order to
prepare the Joint Statement for submission, please let us have Defendants portion by this Friday, April 29. Also, please
let us know if Defendants are available for a meet and confer on Monday, May 2 at 3 pm ET.

Very truly yours,

Dominick


*Please note our new address effective May 2, 2016:
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                                                                         DRAFT

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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


   SUMITOMO DAINIPPON PHARMA             Civil Action No. 15-280 (SRC) (CLW)
   CO., LTD. and SUNOVION                Civil Action No. 15-281 (SRC) (CLW)
   PHARMACEUTICALS INC.,                 Civil Action No. 15-6401 (SRC) (CLW)
                                         (Consolidated)
                       Plaintiffs,
                                         (Filed Electronically)
         v.

   EMCURE PHARMACEUTICALS
   LIMITED, et al.,

                       Defendants.



        JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
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         Plaintiffs Sumitomo Dainippon Pharma Co., Ltd. and Sunovion Pharmaceuticals

   Inc. (collectively, “Sunovion”), Defendants Emcure Pharmaceuticals Ltd. and Emcure

   Pharmaceuticals USA, Inc. (collectively, “Emcure”), Defendant InvaGen Pharmaceuticals,

   Inc. (“InvaGen”), and Defendants Teva Pharmaceuticals USA, Inc. and Teva

   Pharmaceutical Industries Ltd. (collectively, “Teva”) (together, “Defendants”) hereby

   submit their Joint Claim Construction and Prehearing Statement in accordance with the

   Court’s November 24, 2015 Pretrial Scheduling Order (D.I. 45) and Local Patent Rule 4.3.

   I.    BACKGROUND

         This case arises out of the filing of ANDA Nos. 208058, 208028, and 208060 by

   Defendants Emcure, InvaGen, and Teva, respectively, with the U.S. Food and Drug

   Administration (“FDA”) seeking approval to market generic versions of a drug product

   containing lurasidone hydrochloride, the active ingredient of lurasidone hydrochloride

   tablets sold by Sunovion under the trade name LATUDA®. The LATUDA® (lurasidone

   hydrochloride) tablets are indicated for the treatment of schizophrenia and depressive

   episodes associated with Bipolar I Disorder (bipolar depression).

         Sunovion alleges, among other things, that Defendants’ submission of ANDA Nos.

   208058, 208028, and 208060 constitutes infringement of Claim 14 of U.S. Patent No.

   5,532,372 (“the ’372 patent”). Defendants Emcure and Teva allege that asserted Claim 14

   is invalid and not infringed. Defendant InvaGen alleges that asserted Claim 14 is invalid,

   but did not provide any non-infringement contentions under Local Patent Rule 3.6.




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          (a)    Sunovion’s Statement

          Defendants proposed one claim term of asserted Claim 14 for construction by the

   Court. Sunovion did not propose any terms for construction by the Court. Sunovion does

   not believe claim construction is necessary because, among other things, Defendants have

   admitted that their proposed lurasidone hydrochloride products infringe Claim 14 of the

   ’372 patent. See, e.g., Emcure’s Paragraph IV Notice Letter dated December 2, 2014 at 8;

   Emcure’s Supplemental Paragraph IV Notice Letter dated June 16, 2015 at 13; InvaGen’s

   Paragraph IV Notice Letter dated December 5, 2014 at 23-25; InvaGen’s Supplemental

   Paragraph IV Notice Letter dated June 18, 2015 at 12-13; and Teva’s Paragraph IV Notice

   Letter dated July 13, 2015 at 11.

          Although Sunovion is following the Local Patent Rules in providing a position on

   claim construction, Sunovion reserves the right to object to the need for any claim

   construction proceeding with regard to the term proposed by Defendants for Claim 14 of

   the ’372 patent and proposes its construction for this litigation only.

          (b)    Defendants’ Statement

          [Add statement here]

   II.    CONSTRUCTION OF TERMS

          (a)    The Construction of the Terms on Which the Parties Agree

          In accordance with the Court’s November 24, 2015 Pretrial Scheduling Order (D.I.

   45) and Local Patent Rule 4.3(a), the parties agree that, other than the specific term

   identified below, the remaining term of Claim 14 of the ’372 patent does not require




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   construction by the Court and that the plain and ordinary meaning of the terms should

   govern. The claim term of Claim 14 that the parties agree does not require construction,

   and should be given its plain and ordinary meaning is: “or an acid addition salt thereof.”

   The plain and ordinary meaning of this claim term includes for example, lurasidone

   hydrochloride.

          (b)    Each Party’s Proposed Construction of the Claim Term in Dispute

          In accordance with the Court’s November 24, 2015 Pretrial Scheduling Order (D.I.

   45) and Local Patent Rule 4.3(b), a claim chart is provided below identifying the claim

   term proposed for construction, subject to Sunovion’s statement as reflected in Paragraph

   I(a) of this Joint Claim Construction and Prehearing Statement, and the parties’ proposed

   constructions thereof. A chart identifying the intrinsic and extrinsic evidence that each

   party intends to rely upon in support of its respective construction is attached as Exhibit A.

                                U.S. Patent No. 5,532,372 (Claim 14)
                                         Sunovion’s Proposed               Defendants’ Proposed
     Claim Term or Phrase
                                            Construction                       Construction
    “The imide compound             Plain meaning − refers to         A racemic mixture of two
    of the formula:                 lurasidone, lurasidone’s          enantiomers of which the
                                    enantiomer, as well as            structural formula is
                                    mixtures thereof                  representative



                 ”

          (c)    Claim Term Whose Construction Will be Most Significant or
                 Dispositive

          In accordance with the Court’s November 24, 2015 Pretrial Scheduling Order (D.I.




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   45) and Local Patent Rule 4.3(c), Sunovion does not believe that construction of any term

   of Claim 14 of the ’372 patent will be case dispositive or substantially conducive to

   promoting settlement, including for the reasons described above.

          (d)    Anticipated Length of Time Necessary for the Claim Construction
                 Hearing

          The parties anticipate that the Court will be able to conduct a hearing on the

   construction of the identified claim term in no more than three to four hours.

          (e)    Identification of Witnesses for the Claim Construction Hearing

          Sunovion does not anticipate calling any witnesses at the Claim Construction

   hearing. Further, Sunovion objects to any witness testimony proposed by Defendants as

   unnecessary because the intrinsic evidence and plain meaning of the proposed term for

   construction is sufficiently clear.




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                                     EXHIBIT A

      Evidence in Support of the Parties’ Proposed Construction of Disputed Term

                           U.S. Patent No. 5,532,372 (Claim 14)

   Claim Term or Phrase            Sunovion’s Evidence             Defendants’ Evidence

   “The imide compound       Intrinsic Evidence
      of the formula:
                             The ’372 patent specification,
                             including, without limitation:
                             3:3-4:43, 4:44-53, 11:38-65,
                             12:31-13:9, 14:63-16:39,
                             27:35-40, 28:29-35, 30:30-32:23,
            ”                Compound No. 206 in Table 7,
                             and Examples 4, 6, 10, 12, 22, 23,
                             25, 27, 29, 31, 33, 35, 37, 39, 41,
                             43, 45, 47, 49, 51, 62, 64, 66, 67,
                             69, and 72.

                             The prosecution history of the
                             ’372 patent, including, without
                             limitation,
                             LATUDA-00000676-82,
                             LATUDA-00000688-92, and
                             LATUDA-00000849-965.

                             The various claims of the ’372
                             patent, including, without
                             limitation: Claims 15 and 19.

                             Any intrinsic evidence cited by
                             Emcure, InvaGen, and/or Teva in
                             their Local Patent Rule
                             exchanges as well as their
                             context.

                             Extrinsic Evidence

                             Emcure’s Paragraph IV Notice




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                          U.S. Patent No. 5,532,372 (Claim 14)

   Claim Term or Phrase           Sunovion’s Evidence            Defendants’ Evidence
                            Letter dated December 2, 2014.

                            Emcure’s Supplemental
                            Paragraph IV Notice Letter dated
                            June 16, 2015.

                            Emcure’s L. Pat. R. 3.3 and 3.6
                            contentions dated August 4,
                            2015.

                            InvaGen’s Paragraph IV Notice
                            Letter dated December 5, 2014.

                            InvaGen’s Supplemental
                            Paragraph IV Notice Letter dated
                            June 18, 2015.

                            InvaGen’s L. Pat. R. 3.3 and 3.6
                            contentions dated July 28, 2015.

                            Teva’s Paragraph IV Notice
                            Letter dated July 13, 2015.

                            Teva’s L. Pat. R. 3.3 and 3.6
                            contentions dated February 3,
                            2016.

                            Any evidence cited by Emcure,
                            InvaGen, and/or Teva in their
                            Local Patent Rule exchanges as
                            well as their context.

                            Any documents relied upon by
                            any expert in connection with the
                            Markman proceeding in this
                            action.




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Case 2:15-cv-00280-SRC-CLW Document 98-3 Filed 08/15/16 Page 24 of 47 PageID: 1220




             EXHIBIT 4
      Case 2:15-cv-00280-SRC-CLW Document 98-3 Filed 08/15/16 Page 25 of 47 PageID: 1221


Salvatore Guerriero

From:                               Yakub, Imtiaz <imtiazyakub@paulhastings.com>
Sent:                               Tuesday, May 03, 2016 2:55 PM
To:                                 Hardman, Cynthia; 'Kistler, David C.'; Hu, Christopher K.; Lessler, Jay; Heble, Nikhil A.;
                                    Salvatore Guerriero; Robert S. Silver; Pei-Ru Wey; Levy, Ira J; Cipriano, Linnea P; Mayra
                                    Tarantino; Michael Patunas; Auerbach, Jonathan A
Cc:                                 Project LATUDA; 'Lizza, Charles M.'; 'Baton, William C.'; 'Sullivan, Sarah A.'; 'Moses, David
                                    L.'; Lucia, Jamie L.; Ratliff, Preston K.; DiSabatino, Dominick
Subject:                            RE: Sunovion et al. v. Emcure et al., Civil Action No. 15-280 (consolidated action)
Attachments:                        Attachment.docx; redline.docx


Counsel,

As discussed, please find attached the revised draft Joint Statement in clean and redline to the version Defendants'
provided on April 29.

Very truly yours,

Imtiaz



From: DiSabatino, Dominick
Sent: Monday, May 02, 2016 4:01 PM
To: Hardman, Cynthia; 'Kistler, David C.'; Hu, Christopher K.; Lessler, Jay; Heble, Nikhil A.; Salvatore Guerriero; Robert S.
Silver; Pei-Ru Wey; Levy, Ira J; Cipriano, Linnea P; Mayra Tarantino; Michael Patunas; Auerbach, Jonathan A
Cc: Project LATUDA; 'Lizza, Charles M.'; 'Baton, William C.'; 'Sullivan, Sarah A.'; 'Moses, David L.'; Lucia, Jamie L.; Ratliff,
Preston K.
Subject: RE: Sunovion et al. v. Emcure et al., Civil Action No. 15-280 (consolidated action)

Counsel,

Thank you for the meet and confer today. Further to our discussion, please let us know if any of the Defendants disagree
with Sunovion’s proposed construction of the claim term “or an addition salt thereof.” If so, please let us have as soon as
possible your proposed constructions for that claim term. Further, please let us know as soon as practicable whether
Defendants will use both Drs. Baldwin and Lindsley, or which one of them Defendants will use for claim construction.
Sunovion will use Dr. Stephen G. Davies, Professor of Organic Chemistry and Fellow of Magdalen College at the
University of Oxford, as its witness for the disputed claim terms. Finally, as discussed, we will send you revisions to the
draft Joint Statement tomorrow.

Very truly yours,

Dominick



From: DiSabatino, Dominick
Sent: Friday, April 29, 2016 10:07 AM
To: 'Hardman, Cynthia'; 'Kistler, David C.'; Hu, Christopher K.; Lessler, Jay; Heble, Nikhil A.; Salvatore Guerriero; Robert S.
Silver; Pei-Ru Wey; Levy, Ira J; Cipriano, Linnea P; Mayra Tarantino; Michael Patunas; Auerbach, Jonathan A
Cc: Project LATUDA; 'Lizza, Charles M.'; 'Baton, William C.'; 'Sullivan, Sarah A.'; 'Moses, David L.'; Lucia, Jamie L.; Ratliff,
                                                                1
   Case 2:15-cv-00280-SRC-CLW Document 98-3 Filed 08/15/16 Page 26 of 47 PageID: 1222
Preston K.
Subject: RE: Sunovion et al. v. Emcure et al., Civil Action No. 15-280 (consolidated action)

Counsel,

Please use the following dial-in information for our call on Monday at 3PM ET:

Dial-in: 1-800-308-2601
Passcode: 690076


Very truly yours,

Dominick



From: Hardman, Cynthia [mailto:CHardman@goodwinprocter.com]
Sent: Thursday, April 28, 2016 12:32 PM
To: DiSabatino, Dominick; 'Kistler, David C.'; Hu, Christopher K.; Lessler, Jay; Heble, Nikhil A.; Salvatore Guerriero; Robert
S. Silver; Pei-Ru Wey; Levy, Ira J; Cipriano, Linnea P; Mayra Tarantino; Michael Patunas; Auerbach, Jonathan A
Cc: Project LATUDA; 'Lizza, Charles M.'; 'Baton, William C.'; 'Sullivan, Sarah A.'; 'Moses, David L.'; Lucia, Jamie L.; Ratliff,
Preston K.
Subject: RE: Sunovion et al. v. Emcure et al., Civil Action No. 15-280 (consolidated action)



Dominick,

I understand that defendants are available to meet and confer on Monday at 3 pm.

Thanks,
Cynthia

From: DiSabatino, Dominick [mailto:dominickdisabatino@paulhastings.com]
Sent: Thursday, April 28, 2016 10:48 AM
To: 'Kistler, David C.'; Hu, Christopher K.; Lessler, Jay; Heble, Nikhil A.; Salvatore Guerriero; Robert S. Silver; Pei-Ru Wey;
Hardman, Cynthia; Levy, Ira J; Cipriano, Linnea P; Mayra Tarantino; Michael Patunas
Cc: Project LATUDA; 'Lizza, Charles M.'; 'Baton, William C.'; 'Sullivan, Sarah A.'; 'Moses, David L.'; Lucia, Jamie L.; Ratliff,
Preston K.
Subject: RE: Sunovion et al. v. Emcure et al., Civil Action No. 15-280 (consolidated action)

Counsel,

As a follow up to Sunovion’s e-mail below, please confirm that Defendants will send us their portion of the Joint
Statement by this Friday. Also, please confirm that Monday at 3 pm ET works for our L. Pat. R. 4.2(d) meet and confer.

Very truly yours,

Dominick




                                                                2
    Case 2:15-cv-00280-SRC-CLW Document 98-3 Filed 08/15/16 Page 27 of 47 PageID: 1223

From: DiSabatino, Dominick
Sent: Tuesday, April 26, 2016 2:34 PM
To: 'Kistler, David C.'; Hu, Christopher K.; Lessler, Jay; Heble, Nikhil A.; Salvatore Guerriero; Robert S. Silver; Pei-Ru Wey;
Hardman, Cynthia; Levy, Ira J; Cipriano, Linnea P; Mayra Tarantino; Michael Patunas
Cc: Project LATUDA; 'Lizza, Charles M.'; 'Baton, William C.'; 'Sullivan, Sarah A.'; 'Moses, David L.'; Lucia, Jamie L.; Ratliff,
Preston K.
Subject: Sunovion et al. v. Emcure et al., Civil Action No. 15-280 (consolidated action)

Counsel,

Attached is Sunovion’s portion of the draft L. Pat. R. 4.3 Joint Claim Construction and Prehearing Statement. In order to
prepare the Joint Statement for submission, please let us have Defendants portion by this Friday, April 29. Also, please
let us know if Defendants are available for a meet and confer on Monday, May 2 at 3 pm ET.

Very truly yours,

Dominick


*Please note our new address effective May 2, 2016:
200 Park Avenue, New York, NY 10166
____________________________________________________________________________
                            Dominick P. DiSabatino | Associate, Litigation Department
                            Paul Hastings LLP | 75 East 55th Street, New York, NY 10022 | Direct: +1.212.318.6889 | Main:
                            +1.212.318.6000 | Fax: +1.212.752.2689 | dominickdisabatino@paulhastings.com |
                            www.paulhastings.com




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                                                               DRAFT

                                                                       Style Definition: Body Text First Indent


                 UNITED STATES DISTRICT COURT
                    DISTRICT OF NEW JERSEY


SUMITOMO DAINIPPON PHARMA      Civil Action No. 15-280 (SRC) (CLW)
CO., LTD. and SUNOVION         Civil Action No. 15-281 (SRC) (CLW)
PHARMACEUTICALS INC.,          Civil Action No. 15-6401 (SRC) (CLW)
                               (Consolidated)
              Plaintiffs,
                               (Filed Electronically)
     v.

EMCURE PHARMACEUTICALS
LIMITED, et al.,

              Defendants.



     JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT
Case 2:15-cv-00280-SRC-CLW Document 98-3 Filed 08/15/16 Page 29 of 47 PageID: 1225




      Plaintiffs Sumitomo Dainippon Pharma Co., Ltd. and Sunovion Pharmaceuticals

Inc. (collectively, “Sunovion”), Defendants Emcure Pharmaceuticals Ltd. and Emcure

Pharmaceuticals USA, Inc. (collectively, “Emcure”), Defendant InvaGen Pharmaceuticals,

Inc. (“InvaGen”), and Defendants Teva Pharmaceuticals USA, Inc. and Teva

Pharmaceutical Industries Ltd. (collectively, “Teva”) (together, “Defendants”) hereby

submit their Joint Claim Construction and Prehearing Statement in accordance with the

Court’s November 24, 2015 Pretrial Scheduling Order (D.I. 45) and Local Patent Rule 4.3.

I.    I.     BACKGROUND                                                                    Formatted: No bullets or numbering


      This case arises out of the filing of ANDA Nos. 208058, 208028, and 208060 by

Defendants Emcure, InvaGen, and Teva, respectively, with the U.S. Food and Drug

Administration (“FDA”) seeking approval to market generic versions of a drug product

containing lurasidone hydrochloride, the active ingredient of lurasidone hydrochloride

tablets sold by Sunovion under the trade name LATUDA®. The LATUDA® (lurasidone

hydrochloride) tablets are indicated for the treatment of schizophrenia and depressive

episodes associated with Bipolar I Disorder (bipolar depression).

      Sunovion alleges, among other things, that Defendants’ submission of ANDA Nos.

208058, 208028, and 208060 constitutes infringement of Claim 14 of U.S. Patent No.

5,532,372 (“the ’372 patent”). Defendants deny all salient allegations asserted by

Sunovion in its Complaints and contentions. Defendants Emcure and Teva allege that

asserted Claim 14 is invalid and not infringed. Defendant InvaGen alleges that asserted

Claim 14 is invalid, but did not provide any non-infringement contentions. Sunovion




                                           -2-
Case 2:15-cv-00280-SRC-CLW Document 98-3 Filed 08/15/16 Page 30 of 47 PageID: 1226




believes that InvaGen is no longer permitted under the Local Patent Rule 3.6Rules to

provide any such contentions. InvaGen expressly reserves the right to amend its

contentions, including the right to assert non-infringement contentions, pursuant to L. Pat.

R. 3.7.

          (a)   Sunovion’s Statement

          Defendants proposed oneTwo claim termterms of asserted Claim 14 have been

proposed for construction by the Court. Sunovion did not propose any terms for

construction by the Court. Sunovion does not believe claim construction is necessary

because, among other things, Defendants have admitted that their proposed lurasidone

hydrochloride products infringe Claim 14 of the ’372 patent. See, e.g., Emcure’s

Paragraph IV Notice Letter dated December 2, 2014 at 8; Emcure’s Supplemental

Paragraph IV Notice Letter dated June 16, 2015 at 13; InvaGen’s Paragraph IV Notice

Letter dated December 5, 2014 at 23-25; InvaGen’s Supplemental Paragraph IV Notice

Letter dated June 18, 2015 at 12-13; and Teva’s Paragraph IV Notice Letter dated July 13,

2015 at 11.

          Although Sunovion is following the Local Patent Rules in providing a position on

claim construction, Sunovion reserves the right to object to the need for any claim

construction proceeding with regard to the termterms proposed by Defendants for Claim

14 of the ’372 patent and proposes its constructionconstructions for this litigation only.




                                             -3-
Case 2:15-cv-00280-SRC-CLW Document 98-3 Filed 08/15/16 Page 31 of 47 PageID: 1227




       (b)    Defendants’ Statement

       Defendants assert that one claim term requires construction because – under the

proper construction of Claim 14 – their proposed products do not infringe the only claim

asserted in this litigation. Defendants strongly disagree with Sunovion’s statement that

“Defendants have admitted their proposed lurasidone hydrochloride products infringe

Claim 14 of the ’372 patent,” as Defendants’ notice letters and detailed statements make no

such admission. Further, contrary to Sunovion’s statement, Defendants are neither limited

to, nor required to assert, only the defense(s) stated in their notice letters. Finally, claim

construction is also required because Plaintiffs’ alleged “plain meaning” is not a plain

meaning in the relevant field, is inconsistent with the intrinsic evidence and is disputed by

Defendants.

II.    II.    CONSTRUCTION OF TERMS                                                              Formatted: No bullets or numbering


       (a)    The Construction of the Terms on Which the Parties Agree                           Formatted: Indent: Left: 0.5", Outline
                                                                                                 numbered + Level: 2 + Numbering Style: a, b,
                                                                                                 c, … + Start at: 1 + Alignment: Left + Aligned
       In accordance with the Court’s November 24, 2015 Pretrial Scheduling Order                at: 2.19" + Tab after: 2.69" + Indent at:
                                                                                                 2.69"
                                                                                                 Formatted: Font: 13 pt
(D.I. 45) and Local Patent Rule 4.3(a), the parties agreestate that, other than the specific

term identified below, the remaining term there are no claim terms of asserted Claim 14 of

the ’372 patent does not requireon which the parties agree to a construction by the Court

and that the plain and ordinary meaning of the terms should govern. The claim term of

Claim 14 that the parties agree does not require construction, and should be given its plain

and ordinary meaning is: “or an acid addition salt thereof.” .

       (b)    Each Party’s Proposed Construction of the Claim TermTerms in




                                             -4-
Case 2:15-cv-00280-SRC-CLW Document 98-3 Filed 08/15/16 Page 32 of 47 PageID: 1228




               Dispute

       In accordance with the Court’s November 24, 2015 Pretrial Scheduling Order (D.I.

45) and Local Patent Rule 4.3(b), a claim chart is provided below identifying the claim

termterms proposed for construction, subject to the parties’ respective statements in

Paragraph I of this Joint Claim Construction and Prehearing Statement, and the parties’

proposed constructions thereof. A chart identifying the intrinsic and extrinsic evidence

that each party intends to rely upon in support of its respective constructionconstructions is

attached as Exhibit A.




                              U.S. Patent No. 5,532,372 (Claim 14)                               Formatted Table

                                      Sunovion’s Proposed               Defendants’ Proposed
  Claim Term or Phrase
                                         Construction                       Construction
  “The imide compound            Plainplain meaning − refers to    A racemic mixture of two
  of the formula:                lurasidone, lurasidone’s          enantiomers of which the
                                 enantiomer, as well as            structural formula is
                                 mixtures thereof                  representative



              ”
                                                                                                 Formatted: Space Before: 6 pt, After: 6 pt
  “or an acid addition salt      plain meaning − includes for
                                                                                                 Formatted: Left, Indent: Left: 0.23", Right:
  thereof”                       example, lurasidone                                             0.36", Space Before: 6 pt, After: 12 pt,
                                 hydrochloride                                                   Widow/Orphan control, Keep with next, Keep
                                                                                                 lines together, Adjust space between Latin and
                                                                                                 Asian text, Adjust space between Asian text
                                                                                                 and numbers
                                                                                                 Formatted Table




                                            -5-
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       (c)    Claim Term Whose Construction
              Will be Most Significant or Dispositive

       In accordance with the Court’s November 24, 2015 Pretrial Scheduling Order

   (D.I. 45) and Local Patent Rule 4.3(c), Defendants believe that proper construction

   of the phrase “[t]he imide compound of the formula:




                                       ”, will be significant; and may be dispositive.

       Sunovion, however, does not believe that construction of any term of Claim 14     Formatted: Normal, Indent: Left: 0", First
                                                                                         line: 0.5", Right: 0.36", Line spacing: Double,
                                                                                         Keep with next, Keep lines together, Tab stops:
of the ’372 patent will be case dispositive or substantially conducive to promoting      Not at 0.25" + 0.5"


settlement. Defendants, however, believe that proper construction of the phrase

“[t]he imide compound of the formula:




                                       ”, will be significant; and may be dispositive.



       (d)    Anticipated Length of Time Necessary
              for the Claim Construction Hearing

       The parties anticipate that the Court will be able to conduct a hearing on the

construction of the identified claim termterms in approximately four hours.

       (e)    Identification of Witnesses for the Claim Construction Hearing

       Sunovion does not anticipate calling any witnesses at the Claim Construction

hearing. Further, Sunovion objects to anybelieves that witness testimony proposed by




                                            -6-
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Defendants asis unnecessary because the intrinsic evidence and plain meaning of the

proposed termterms for construction isare sufficiently clear. Defendants, however, insist

that extrinsic evidence in the form of witness testimony should be presented to the Court in

order to construe the disputed claim terms. Therefore, Sunovion identifies Dr. Stephen G.

Davies, Waynflete Professor of Organic Chemistry and Fellow of Magdalen College,

University of Oxford, as an expert in chemistry to testify regarding how a person of

ordinary skill in the art would have understood the disputed claim terms.

       Defendants anticipate calling Dr. Stephen Baldwin and/or Craig W. Lindsley, Ph.D.

as witnesses at the Claim Construction hearing to testify on the matters described in

Exhibit A.



Dated: May 4, 2016

By::_____________________                          By: By:_____________________
Michael E. Patunas                                  Charles M. Lizza
Mayra V. Tarantino                                  William C. Baton
PATUNAS TARANTINO LLC                               SAUL EWING LLP
24 Commerce Street, Suite 606                       One Riverfront Plaza, Suite 1520
Newark, N.J. 07102                                  Newark, NJ 07102-5426
(973) 396-8740                                      (973) 286-6700
mpatunas@patunaslaw.com                             clizza@saul.com
mtarantino@patunaslaw.com


Of Counsel:                                         Of Counsel:

Ira J. Levy                                         Joseph M. O’Malley, Jr.
Cynthia Lambert Hardman                             Preston K. Ratliff II
Jonathan A. Auerbach                                Bruce M. Wexler




                                            -7-
Case 2:15-cv-00280-SRC-CLW Document 98-3 Filed 08/15/16 Page 35 of 47 PageID: 1231




Linnea P. Cipriano                              PAUL HASTINGS LLP
Goodwin Procter LLP                             200 Park Avenue
The New York Time building                      New York, NY 10166
620 Eighth Avenue                               (212) 318-6000
New York, NY 10018
(212) 813-8800                                  Attorneys for Plaintiffs
                                                Sumitomo Dainippon Pharma Co.,
Attorneys for Defendants Teva                   Ltd. and Sunovion Pharmaceuticals
Pharmaceuticals USA, Inc. and                   Inc.
Teva Pharmaceutical Industries, Ltd.

By:                                             By:
Stephen M. Orlofsky                              Salvatore Guerriero
David Kistler                                    CAESAR RIVISE, PC
New Jersey Resident Partners                     1635 Market Street
BLANK ROME LLP                                   12th Floor - Seven Penn Center
301 Carnegie Center, 3rd Floor                   Philadelphia, PA 19103-2212
Princeton, NJ 08540                              (215) 567-2010
(609) 750-7700                                   sguerriero@crbcp.com
orlofsky@blankrome.com
kistler@blankrome.com                           Of Counsel:
                                                Robert S. Silver
Of Counsel:                                     Pei-Ru Wey
Christopher K. Hu                               CAESAR RIVISE, PC
BLANK ROME LLP                                  1635 Market Street
The Chrysler Building                           12th Floor - Seven Penn Center
405 Lexington Avenue                            Philadelphia, PA 19103-2212
New York, NY 10174-0208                         (215) 567-2010
(212) 885-5000
                                                Attorneys for Defendant
Attorneys for Defendants and                    InvaGen Pharmaceuticals, Inc.
Counterclaim Plaintiffs Heritage Pharma
Labs Inc. (f/k/a Emcure Pharmaceuticals
USA, Inc.) and Emcure Pharmaceuticals
Ltd.




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  Case 2:15-cv-00280-SRC-CLW Document 98-3 Filed 08/15/16 Page 36 of 47 PageID: 1232




                                             EXHIBIT A

    Evidence in Support of the Parties’ Proposed Construction of Disputed TermTerms

                                 U.S. Patent No. 5,532,372 (Claim 14)

                                         Claim Term or Phrase

                                “The imide compound of the formula:




                                                                       ”
                                                                     Defendants’ Evidence
             Sunovion’s Evidence
Intrinsic Evidence                                    Intrinsic Evidence
The ’372 patent specification, including,             ’372 patent.
without limitation: 3:3-4:43, 4:44-53, 11:38-65,      ’372 patent specification, including:
12:31-13:9, 14:63-16:39, 27:35-40, 28:29-35,
30:30-32:23, Compound No. 206 in Table 7, and         ’372 patent, col. 11, lines 38-44.
Examples 4, 6, 10, 12, 22, 23, 25, 27, 29, 31, 33,    ’372 patent, col. 12, line 29-col. 13, line 10.
35, 37, 39, 41, 43, 45, 47, 49, 51, 62, 64, 66, 67,
69, and 72.                                           ’372 patent, col. 13, lines 11-25.
                                                      ’372 patent, col. 13, line 60-col. 14, line 7.
The prosecution history of the ’372 patent,
including, without limitation,                        ’372 patent, col. 14, lines 10-38.
LATUDA-00000676-82,                                   ’372 patent, col. 14, lines 40-55.
LATUDA-00000688-92, and                               ’372 patent, col. 14, line 63-col. 15, line 66.
LATUDA-00000849-965.
                                                  ’372 patent, col. 16, line 42-col. 17, line 42.
The various claims of the ’372 patent, including, ’372 patent, col. 17, line 45-col. 19, line 67.
without limitation: Claims 15 and 19.
                                                  ’372 patent, col. 27, lines 25-40.
AnyThe intrinsic evidence cited by Emcure,        ’372 patent, col. 29, lines 45-65
InvaGen, and/or Teva in their Local Patent Rule
exchanges as well as their context.               ’372 patent, Example 1-(a), col. 30, line 30-col. 31,
                                                  line 9.
Extrinsic Evidence                                ’372 patent, Example 1-(b), col. 31, lines 11-24.




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  Case 2:15-cv-00280-SRC-CLW Document 98-3 Filed 08/15/16 Page 37 of 47 PageID: 1233




                               U.S. Patent No. 5,532,372 (Claim 14)

                                      Claim Term or Phrase

                               “The imide compound of the formula:




                                                                    ”
                                                                  Defendants’ Evidence
           Sunovion’s Evidence
Emcure’s Paragraph IV Notice Letter dated          ’372 patent, Example 1-(c), col. 31, lines 25-55.
December 2, 2014.                                  ’372 patent, Example 1-(d), col. 32, lines 1-14.
Emcure’s Supplemental Paragraph IV Notice          ’372 patent, Example 1-(e), col. 32, lines 17-23
Letter dated June 16, 2015.                        ’372 patent, col. 32, lines 25-52.
Emcure’s L. Pat. R. 3.3 and 3.6 contentions        ’372 patent, col. 32, line 55-col. 33, line 19.
dated August 4, 2015.                              ’372 patent at Tables 9 and 10.
InvaGen’s Paragraph IV Notice Letter dated         ’372 patent, Table 9, Example No. 15, Objective
December 5, 2014.                                  Compound No. 119.

InvaGen’s Supplemental Paragraph IV Notice         ’372 patent, Table 9, Example No. 50, Objective
Letter dated June 18, 2015.                        Compound No. 154.
                                                   ’372 patent, Table 9, Example No. 72, Objective
InvaGen’s L. Pat. R. 3.3 and 3.6 contentions       Compound No. 176.
dated July 28, 2015.
                                                   ’372 patent, Claim 14.
Teva’s Paragraph IV Notice Letter dated July       ’372 patent, Claim 15.
13, 2015.
                                                   ’372 patent, Claim 16.
Teva’s L. Pat. R. 3.3 and 3.6 contentions dated    ’372 patent, Claim 17.
February 3, 2016.
                                                   ’372 patent, Claim 18.
AnyExpert testimony from Dr. Stephen G.            ’372 patent, Claim 19.
Davies, Waynflete Professor of Organic
Chemistry and Fellow of Magdalen College,          Prosecution History of the ’372 patent, including:
University of Oxford, regarding how a person of    April 3, 1992 Requirement for Restriction/Election.
ordinary skill in the art would have understood    April 29, 1992 Amendment.
the disputed claim term. Dr. Davies can explain




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                                 U.S. Patent No. 5,532,372 (Claim 14)

                                        Claim Term or Phrase

                                “The imide compound of the formula:




                                                                    ”
                                                                  Defendants’ Evidence
               Sunovion’s Evidence
that the disputed claim term, read in light of the   May 15, 1992 Requirement for
’372 patent specification, would have been           Restriction/Election.
understood by a person of ordinary skill in the      June 10, 1992 Amendment.
art to refer to lurasidone, lurasidone’s
enantiomer, as well as mixtures thereof.             August 10, 1992 Requirement for
                                                     Restriction/Election.
The evidence cited by Emcure, InvaGen, and/or September 10, 1992 Amendment.
Teva in their Local Patent Rule exchanges as
well as their context.                        November 27, 1992 Non-Final Rejection.
                                              March 1, 1993 Amendment including, without
Any documents relied upon by any expert in    limitation, new Claim 27.
connection with the Markmanclaim construction
proceeding in this action.                    August 30, 1993 Transmittal of New Application
                                              including, without limitation, Claims 11-27.
                                                     August 30, 1994 Non-Final Rejection.
                                                     Declaration of Yukihiro Ohno submitted in
                                                     conjunction with December 29, 1994 Amendment
                                                     including, without limitation, pages 2-4.
                                                     December 12, 1994 Amendment including, without
                                                     limitation, page 8.
                                                     February 28, 1995 Requirement for
                                                     Restriction/Election.
                                                     March 30, 1995 Amendment including, without
                                                     limitation, pages 2-3.
                                                     June 16, 1995 Requirement for
                                                     Restriction/Election.




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                     U.S. Patent No. 5,532,372 (Claim 14)

                            Claim Term or Phrase

                     “The imide compound of the formula:




                                                       ”
                                                     Defendants’ Evidence
      Sunovion’s Evidence
                                       July 17, 1995 Amendment including, without
                                       limitation, page 1.
                                       August 8, 1995 Non-Final Rejection.
                                       November 14, 1995 Amendment.
                                       February 1, 1996 Notice of Allowance including,
                                       without limitation, allowed Claim 27, renumbered
                                       as Claim 14.


                                       Extrinsic Evidence
                                       Defendants may rely on the following articles,
                                       publications, patents, and other materials as
                                       extrinsic evidence.
                                       U.S. Patent Application Publication No.
                                       2011/0183993A1 published July 28, 2011.
                                       Introduction To Organic Chemistry, Streitweiser
                                       and Heathcock, Macmillan, New York, Third
                                       Edition, 1985, page 218.
                                       Baraldi et al., J. Org. Chem. 1985, 50, 23-29.
                                       Williams et al., J. Org. Chem. 1985, 50, 91-97.
                                       White & Burton, J. Org. Chem. 1985, 50, 357-364.
                                       Schwartz & Willbrand, J. Org. Chem. 1985, 50,
                                       1359-1365.
                                       Hall & Roush, J. Org. Chem. 1982, 47, 4611-4621.




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                     U.S. Patent No. 5,532,372 (Claim 14)

                            Claim Term or Phrase

                     “The imide compound of the formula:




                                                        ”
                                                      Defendants’ Evidence
      Sunovion’s Evidence
                                       Roush & Gillis, J. Org. Chem. 1982, 47,
                                       4825-4829.
                                       Roush & D’Ambra, J. Am. Chem. Soc. 1983, 105,
                                       1058-1060.
                                       Clive, J. Org. Chem. 1994, 59, 1396-1406.
                                       Organic Chemistry, Jones, M., Jr., New York, NY:
                                       W.W. Norton & Company, Inc., Second Edition,
                                       1997, page 188.

                                       Organic Chemistry: Structure and Function,
                                       Vollhardt & Schore, New York, NY: W.H. Freeman
                                       and Company, Sixth Edition, 2010, page 201.

                                       Expert opinions about the level of ordinary skill in
                                       the art, the state of the relevant art, and the meaning
                                       of “the imide compound of the formula:




                                       to a person of ordinary skill in the art at the time of
                                       filing date of the patent.

                                       Expert opinions that, based on the cited intrinsic and
                                       extrinsic evidence, the level of ordinary skill in the
                                       art, the state of the relevant art, and the meaning of




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                     U.S. Patent No. 5,532,372 (Claim 14)

                            Claim Term or Phrase

                     “The imide compound of the formula:




                                                        ”
                                                      Defendants’ Evidence
      Sunovion’s Evidence
                                       “the imide compound of the formula:




                                       to a person of ordinary skill in the art at the time of
                                       filing date of the ’372 patent, Plaintiffs’ proposed
                                       construction should not be adopted.
                                       Monthly Research Report, December 1991
                                       (LATUDA-00002084-00002094).
                                       Documents submitted as part of the New Drug
                                       Application for the compound known as lurasidone.

                                       Extrinsic evidence identified by other defendants in
                                       litigations brought by plaintiffs involving the ’372
                                       patent.


                                       Defendants may also rely on extrinsic evidence in
                                       the form of expert testimony, the substance of
                                       which is described below:
                                       1.     Example 1-(a) of the ’372 patent (col. 30,
                                       line 30 to col. 31, line 9) describes the production of
                                       Compound No. 101. Compound (101) is the result




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                     U.S. Patent No. 5,532,372 (Claim 14)

                            Claim Term or Phrase

                     “The imide compound of the formula:




                                                       ”
                                                     Defendants’ Evidence
      Sunovion’s Evidence
                                       of a synthesis involving Compound (201) and
                                       Compound (251).

                                       2.     Although Compound (251) has asymmetric
                                       (or stereogenic) carbon atoms, it has a plane of
                                       symmetry and therefore does not confer chirality to
                                       the product, Compound (101).

                                       3.     Compound (201), based on the description in
                                       Reference Example 1-(a), is a racemic mixture of
                                       optical isomers, since it is derived from
                                       trans-1,2-bis(hydroxymethyl)cyclohexane          (2).
                                       There is no indication in the ’372 patent that
                                       Compound (2), or any of the other intermediate
                                       compounds (Compounds (1) and (3)) in the
                                       preparation of Compound (201), has been resolved
                                       into one of its constituent enantiomers. The
                                       synthesis of Compound (201) is described at
                                       column 14, line 63 to column 15, line 66, and the
                                       structure is depicted at column 15, lines 25-34. The
                                       structure of Compound (201) is also depicted at
                                       column 30, lines 50-55. Compound (201) is
                                       necessarily a racemic mixture based on the
                                       description provided in Reference Example 1-(a)

                                       4.    Compound (101) is also a racemic mixture
                                       based on the description of its chemical precursors
                                       and synthesis in the ’372 patent. The ’372 patent




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                     U.S. Patent No. 5,532,372 (Claim 14)

                            Claim Term or Phrase

                     “The imide compound of the formula:




                                                       ”
                                                     Defendants’ Evidence
      Sunovion’s Evidence
                                       illustrates Compound (101), a racemic mixture with
                                       two optical isomers, at the bottom of column 30.
                                       This depiction is consistent with the way in which
                                       the ’372 patent illustrates other racemic mixtures,
                                       such as Compound (201). This method of depicting
                                       racemic mixtures is not unique to Sumitomo, as can
                                       be seen in the technical references identified above.

                                       5.    The compound depicted in claim 14 of the
                                       ’372 patent is identical to the free base of the
                                       compound depicted in column 30 that is labeled as
                                       and referred to as Compound (101), a racemic
                                       mixture.

                                       6.     The preparation of Compounds (102), (103),
                                       (104) and (105) is described in the ’372 patent at
                                       column 31, line 10 to column 32, line 22.
                                       Compounds (102), (103), (104) and (105) are each
                                       salts of a particular optical isomer making up the
                                       racemic mixture of Compound (101). Specifically,
                                       Compound (102) (Example 1-(b)) is a (+)-isomer of
                                       Compound (101) in the form of an L-tartrate salt;
                                       Compound (103) (Example 1-(c)) is a (-)-isomer of
                                       Compound (101) in the form of a D-tartrate salt;
                                       Compound (104) (Example 1-(d)) is a (+)-isomer of
                                       Compound (101) in the form of a hydrochloride
                                       salt; and Compound (105) (Example 1-(e)) is a
                                       (-)-isomer of Compound (101) in the form of a




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                     U.S. Patent No. 5,532,372 (Claim 14)

                            Claim Term or Phrase

                     “The imide compound of the formula:




                                                        ”
                                                      Defendants’ Evidence
      Sunovion’s Evidence
                                       hydrochloride salt. Compounds (102) and (103)
                                       have equal but opposite optical rotations, further
                                       confirming that Compound (101) is a racemic
                                       mixture. Likewise, compounds (104) and (105)
                                       have equal but opposite optical rotations.

                                       7.     The ’372 patent treats Compound 101 (a
                                       racemic mixture) and Compound 105 (an optical
                                       isomer of Compound 101) as chemically distinct
                                       compounds. For example, the compounds were
                                       given unique numbers and tested separately and
                                       shown to have different properties, including
                                       different binding affinities (Ki) as shown in Table 2.

                                       8.     The specification also uses structural
                                       formulas similar to that of Compound (101) to refer
                                       to other racemic mixtures. While all of the
                                       Objective Compounds in Table 9 of the ‘372 patent
                                       are chiral, there is no indication that any of them is a
                                       single optical isomer.         To the contrary, the
                                       compounds used to prepare these Objective
                                       Compounds, as with the compounds for preparing
                                       Compound (101), indicate that they are racemic
                                       mixtures. For example, Objective Compound (112)
                                       in Table 9 is prepared from Compounds (253) and
                                       (201). Compound (201) as discussed above is a
                                       racemic mixture.           Like Compound (251),
                                       Compound (253) has a plane of symmetry and




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                               U.S. Patent No. 5,532,372 (Claim 14)

                                       Claim Term or Phrase

                               “The imide compound of the formula:




                                                                  ”
                                                                Defendants’ Evidence
             Sunovion’s Evidence
                                                   therefore does not confer chirality to the product,
                                                   Objective Compound (112).           The resulting
                                                   Objective Compound (112) is therefore a racemic
                                                   mixture.

                                                   9.     While Table 10 provides physicochemical
                                                   data for the Objective Compounds of Table 9, it
                                                   does not provide any measurement of their optical
                                                   rotations, [α]. If the compounds had been resolved,
                                                   it would be expected that such optical rotation
                                                   measurements would be reported.




                               U.S. Patent No. 5,532,372 (Claim 14)

                                       Claim Term or Phrase

                                 “or an acid addition salt thereof”

             Sunovion’s Evidence                                Defendants’ Evidence

Intrinsic Evidence
The ’372 patent specification, including,
without limitation: 3:3-4:43, 4:44-53, 11:38-65,




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                                 U.S. Patent No. 5,532,372 (Claim 14)

                                         Claim Term or Phrase

                                   “or an acid addition salt thereof”

             Sunovion’s Evidence                                  Defendants’ Evidence
12:31-13:9, 14:63-16:39, 27:35-40, 28:29-35,
30:30-32:23, Compound No. 206 in Table 7, and
Examples 4, 6, 10, 12, 22, 23, 25, 27, 29, 31, 33,
35, 37, 39, 41, 43, 45, 47, 49, 51, 62, 64, 66, 67,
69, and 72.

The prosecution history of the ’372 patent,
including, without limitation,
LATUDA-00000676-82,
LATUDA-00000688-92, and
LATUDA-00000849-965.

The various claims of the ’372 patent, including,
without limitation: Claims 15 and 19.

The intrinsic evidence cited by Emcure,
InvaGen, and/or Teva in their Local Patent Rule
exchanges as well as their context.

Extrinsic Evidence

Emcure’s Paragraph IV Notice Letter dated
December 2, 2014.

Emcure’s Supplemental Paragraph IV Notice
Letter dated June 16, 2015.

Emcure’s L. Pat. R. 3.3 and 3.6 contentions
dated August 4, 2015.

InvaGen’s Paragraph IV Notice Letter dated
December 5, 2014.

InvaGen’s Supplemental Paragraph IV Notice




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                               U.S. Patent No. 5,532,372 (Claim 14)

                                      Claim Term or Phrase

                                 “or an acid addition salt thereof”

             Sunovion’s Evidence                                Defendants’ Evidence
Letter dated June 18, 2015.

InvaGen’s L. Pat. R. 3.3 and 3.6 contentions
dated July 28, 2015.

Teva’s Paragraph IV Notice Letter dated July
13, 2015.

Teva’s L. Pat. R. 3.3 and 3.6 contentions dated
February 3, 2016.

Expert testimony from Dr. Stephen G. Davies,
Waynflete Professor of Organic Chemistry and
Fellow of Magdalen College, University of
Oxford, regarding how a person of ordinary skill
in the art would have understood the disputed
claim term. Dr. Davies can explain that the
disputed claim term, read in light of the ’372
patent specification, would have been
understood by a person of ordinary skill in the
art to refer to acid addition salts such as
lurasidone hydrochloride.

The evidence cited by Emcure, InvaGen, and/or
Teva in their Local Patent Rule exchanges as
well as their context.

Any documents relied upon by any expert in
connection with the claim construction
proceeding in this action.




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